    20-23280-rdd     Doc 152-2       Filed 02/20/22 Entered 02/20/22 17:11:26                    Exhibit B -
                                   Liquidation Analysis Pg 1 of 4
                                              Exhibit B

                                   Liquidation Analysis for Debtors

TH Holdco LLC (“TH Holdco”) has prepared this liquidation analysis of the hypothetical
recoveries under a Chapter 7 scenario (the “Liquidation Analysis”) to help holders of Claims and
Interests in each of the Debtors’ Estates decide whether to accept or reject the Plan. 1 The
Liquidation Analysis indicates the values which may be obtained by Classes of Claims if all of
the assets of the applicable Debtor are sold pursuant to a Chapter 7 liquidation, as an alternative
to the Plan. The Liquidation Analysis is based on the assumptions discussed below.

Even if a plan is accepted by the holders of each class of claims and interests, the Bankruptcy
Code requires a bankruptcy court to determine that such plan is in the best interests of all holders
of claims or interests that are impaired by that plan and that have not accepted that plan. The
“best interests” test, as set forth in § 1129(a)(7) of title 11 of the United States Code, §§ 101, et
seq. (the “Bankruptcy Code”), requires a bankruptcy court to find either that (a) members of an
impaired class of claims or interests have accepted the plan, or (b) that the plan will provide a
party who has not accepted the plan with a recovery of property of a value, as of the effective
date of the plan, that is not less than the amount that such holder would recover if the applicable
debtor were liquidated under Chapter 7 of the Bankruptcy Code.

The Liquidation Analysis below reflects TH Holdco’s estimates of the proceeds that would be
realized if each of the Debtors were to be liquidated in accordance with Chapter 7 of the
Bankruptcy Code. The Liquidation Analysis is based on the Debtors’ projected assets as of
November 30, 2021 (the latest Monthly Operating Reports filed by the Debtors). Underlying the
Liquidation Analysis are a number of estimates and assumptions that, although developed and
considered reasonable by management, are inherently subject to significant economic and
competitive uncertainties and contingencies beyond the control of the Debtors’ and their
management or TH Holdco and its management, and are based upon assumptions with respect to
liquidation decisions which could be subject to change.

AS ANY ANALYSIS OF A HYPOTHETICAL LIQUIDATION IS NECESSARILY
SPECULATIVE, THERE CAN BE NO ASSURANCE THAT THE VALUES
REFLECTED IN THE LIQUIDATION ANALYSIS WOULD BE REALIZED IF THE
DEBTORS WERE, IN FACT, TO UNDERGO SUCH A LIQUIDATION, AND ACTUAL
RESULTS COULD VARY MATERIALLY FROM THOSE SHOWN HERE.
FURTHERMORE, NEITHER THE ANALYSIS, NOR THE FINANCIAL
INFORMATION ON WHICH IT IS BASED, HAS BEEN EXAMINED OR REVIEWED
BY INDEPENDENT ACCOUNTANTS IN ACCORDANCE WITH STANDARDS
PROMULGATED BY THE AMERICAN INSTITUTE OF CERTIFIED PUBLIC
ACCOUNTANTS.


1
  All capitalized terms not defined herein shall have the meaning ascribed to them in TH Holdco’s Disclosure
Statement Relating to the Chapter 11 Plan Filed by Creditor TH Holdco LLC Related To 85 Flatbush RHO Mezz
LLC, 85 Flatbush RHO Hotel LLC, and 85 Flatbush RHO Residential LLC [Docket No. __] (as may be amended,
supplemented, or modified from time to time, the “Disclosure Statement”) or Chapter 11 Plan Filed by Creditor TH
Holdco LLC Related To 85 Flatbush RHO Mezz LLC, 85 Flatbush RHO Hotel LLC, and 85 Flatbush RHO
Residential LLC [Docket No. __] (as may be amended, supplemented, or modified from time to time, the “Plan”),
respectively.
120373495\V-4
 20-23280-rdd      Doc 152-2     Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit B -
                               Liquidation Analysis Pg 2 of 4
The Liquidation Analysis prepared by TH Holdco is based in part on the Debtors’ Schedules and
filed proofs of claim and filed monthly operating reports. TH Holdco did not conduct any
independent review or analysis of the Debtors’ Schedules, monthly operating reports, and filed
proofs of claims, and any objections to such claims have not been filed and/or fully litigated.
Therefore, there can be no assurances of the amount of the Allowed Claims at this time, and the
actual amount of the Allowed Claims may be greater or lower than estimated. To calculate the
probable distribution to holders of each impaired class of claims and interests if a debtor was
liquidated under Chapter 7, a bankruptcy court must first determine the aggregate dollar amount
that would be generated from a debtor’s assets if its Chapter 11 case were converted to or filed
as a Chapter 7 case under the Bankruptcy Code.

The Liquidation Analysis also assumes that the liquidation of each of the Debtors would
commence under the direction of a Court-appointed Chapter 7 trustee and continue for six (6)
months (but with no material going concern operations during the Chapter 7 period), during
which time all of the Debtors’ major assets (mainly consisting of the Hotel Property and
Residential Property real estate) either would be sold or conveyed to the applicable lien holders
and the cash proceeds, net of liquidation-related costs, would be distributed to creditors.
Although some assets might be liquidated in less than six (6) months, other assets would be more
difficult to collect or sell, thus potentially requiring a liquidation period longer than six (6)
months. There would be certain holding costs such as real estate and other taxes, utilities and
maintenance until the real estate is sold.

Costs of liquidation under Chapter 7 of the Bankruptcy Code would include the compensation of
a Chapter 7 trustee, as well as compensation of counsel and other professionals retained by the
Chapter 7 trustee, asset disposition expenses, all unpaid expenses incurred by the Debtors in their
Chapter 11 Cases (such as compensation of attorneys, financial advisors, and accountants) that
are allowed in the Chapter 7 cases, litigation costs, and holding and other costs of the Estates
during the pendency of the Chapter 11 Cases. There may be additional marketing expenses and
“learning curve” time if these Chapter 11 Cases were converted to Chapter 7. The Chapter 7
trustee may also attempt to assert a claim to a trustee’s percentage fees.

Both the Plan proposed by TH Holdco and the Debtors’ Plan provides that the transfer of the real
property shall be exempt from transfer, stamp or similar taxes pursuant to § 1146(a) of the
Bankruptcy Code. That exemption is not available in a Chapter 7 case and TH Holdco believes
the need to pay transfer taxes in a Chapter 7 transfer of the Hotel Property and Residential
Property would materially impact net proceeds or price versus a sale pursuant to a confirmed
Chapter 11 plan.




120373495\V-4
    20-23280-rdd             Doc 152-2         Filed 02/20/22 Entered 02/20/22 17:11:26                                Exhibit B -
                                             Liquidation Analysis Pg 3 of 4

                                            LIQUIDATION ANALYSIS
                                           COMPLETED BY TH HOLDCO
                                                  Plan Proponent - Liquidation Analysis
                                                       COMPLETED BY TH HOLDCO
Assets

  Hotel and Residential Property, less holding costs                       $75,000,000
  Estimated Cash on Hand and Other Assets                                  $1,000,000

Total Assets for Distribution in a Chapter 7 Case                          $76,000,000


Liabilities

  Senior Mortgage Claim                                                    $85,158,815.99 (Pre-Petition Portion Only)
  Other Secured Claims Against Hotel and Residential                       $0

  Chapter 7 Administrative Expenses                                        $500,000.00 - $1,000,000.00

Net Proceeds After Secured Claims at Hotel and Residential
& Chapter 7 Admin. Fees                                                     ($0.00)
  Chapter 11 Administrative Expenses                                        $200,000.00 - $1,000,000.00

  Net Proceeds After Chapter 11 Admin. Fees                                 ($0.00)


  Mezz Secured Debt (if Pledged Equity has Value)                           $7,787,500.00
                                                                            (Subject to Intercreditor Agreement with Senior Mortgage Claim)

  Chapter 11 Priority Claims                                                $2,578,563.12
                                                                            (Mezz Priority Claims are subordinate to all Hotel & Residential Claims)


  Chapter 11 Unsecured Claims                                               $4,912,227.01
                                                                          (Mezz Unsecured Claims are subordinate to all Hotel & Residential Claims)



  Total Chapter 11 Priority Claims                                            $2,578,563.12
  Remaining Proceeds                                                          $0.00
  Total Chapter 11 Unsecured Claims                                           $4,912,227.01
  Remaining Proceeds                                                          $0.00
  Estimated Liquidation Recovery                                              0%


  Hotel Claims
  Priority Claims                                                             $859,710.68
  Secured Claims                                                              $85,158,815.99
  Other Unsecured Claims                                                      $2,570,342.13

  Residential Claims
  Priority Claims                                                             $0.00
  Secured Claims                                                              $85,158,815.99
  Other Unsecured Claims                                                      $1,175,320.00

  Mezz Claims
  Priority Claims                                                             $1,119,193.86
  Secured Claims                                                              $7,787,611.90
  Other Unsecured Claims                                                      $1,166,564.88




   120373495\V-4
   20-23280-rdd         Doc 152-2       Filed 02/20/22 Entered 02/20/22 17:11:26                     Exhibit B -
                                      Liquidation Analysis Pg 4 of 4

                     Summary by Class of Distribution in Chapter 7 Liquidation vs. Chapter 11 Plan

                                                                Estimated      Estimated       Estimated     Estimated
                                                               Liquidation    Liquidation     Chapter 11    Chapter 11
                                                                 Proceeds       Recovery        Proceeds      Recovery

Class 1 (85 Flatbush RHO Hotel Other Priority Claims)                          0%              Plan Fund     100%

Class 2 (85 Flatbush RHO Residential Other Priority)                           0%              Plan Fund     100%

                                                                               86% of                        99% of
                                                                  $76
                                                                               pre-                          pre-
Class 3 (TH Holdco Secured Claim)                                 million                      Credit Bid
                                                                               petition                      petition
                                                                               amount                        amount


Class 4 (85 Flatbush RHO Hotel Other Secured Claims)                           No Claims       No Claims     100%


Class 5 (85 Flatbush RHO Residential Other Secured Claims)                     No Claims       No Claims     100%
                                                                                               $200,000
                                                                                               Dedicated
Class 6 (85 Flatbush RHO Hotel General Unsecured Claims)          $0.00        0%              Fund (for     5-10%
                                                                                               Classes 6
                                                                                               and 8)

Class 7 (85 Flatbush RHO Hotel Existing Equity Interests)         $0.00        0%              $0            0%
                                                                                               $200,000
                                                                                               Dedicated
Class 8 (85 Flatbush RHO Residential General Unsecured                                         Fund (for
                                                                  $0.00        0%                            5-10%
Claims)                                                                                        Classes 6
                                                                                               and 8)
Class 9 (85 Flatbush RHO Residential Existing Equity                                           $0
                                                                  $0.00        0%                            0%
Interests)
Class 10 (85 Flatbush Mezz Other Priority Claims)                 $0.00        0%              $0            0%

Class 11 (85 Flatbush Mezz Claims)                                $0.00        0%              $0            0%

Class 12 (85 Flatbush Mezz Other Secured Claims)                  $0.00        0%              $0            0%

Class 13 (85 Flatbush Mezz General Unsecured Claims)              $0.00        0%              $0            0%

Class 14 (85 Flatbush Mezz Existing Equity Interests)             $0.00        0%              $0            0%




  120373495\V-4
